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                          United States District Court
                                NORTHERN DISTRICT OF TEXAS
                                            DALLAS    DIVISION



 M AT T H E W K E N N E Y a n d G R E G O R Y §
 BENEDICT                                     §
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 V .                                          §                  C I V I L A C T I O N N O . 3 : 2 4 - C V- 0 8 0 9 - S

                                              §
 DALLAS COUNTY, TEXAS                         §

                         MEMORANDUM              OPINION      AND         ORDER


       This Memorandum Opinion and Order addresses Defendant Dallas Covmty, Texas’s

Rule 12(b)(6) Motion to Dismiss Plaintiffs’ Rehabilitation Act Claims Alleged Against It in

Plaintiffs’ Original Complaint (“Motion”) [ECF No. 8]. The Court has reviewed the Motion,

Plaintiffs Matthew Kenney and Gregory Benedict’s Brief in Support of Their Response to the

Motion (“Response”) [ECF No. 17], and the applicable law. For the following reasons, the Court

GRANTS the Motion.


                                           I.   BACKGROUND


       In April 2022, Plaintiffs were pretrial detainees being held in the Dallas County Jail. Pis.’

Original Compl. (“Complaint”) [ECF No. 1] 2,             6-7. Plaintiffs have both been diagnosed with

Type 1Diabetes. Id. 12, 14. Kenney takes insulin two to three times aday to manage his

diabetes, while Benedict uses an insulin pump and acontinuing glucose monitoring system. Id.

mi 13,15.

       Upon being booked into the Dallas County Jail, Kermey told jail of cials and anurse that

he had diabetes and needed insulin. Id. 32, 36. Later, Kenney told seven guards that he felt sick

because he did not have his insulin. Id. 138. One of cer allegedly told Kenney that he would not

“get medical until [he] was ‘practically dying.’” Id. *1142 (emphasis omitted). Kenney began

experiencing numerous issues, including thirst, vomiting, sweating, frequent urination, and
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     stomach pain. Id. 45-50. Kenney told jailers about these symptoms and repeated his request for

     insulin. Id. T| 55. According to Plaintiffs, jailers did not retrieve Kenney’s insulin or provide him

     with medical care for approximately 53 hours. Id. f64. After 53 hours without insulin, Kenney

     fainted. Id. ^65. After Kenney fainted, he was taken to the hospital, where he was diagnosed with

     diabetic ketoacidosis. Id. 68, 70.

            Benedict alleges that he suffered similar treatment in the Dallas County Jail. When

     Benedict was booked into jail, his insulin pump was con scated, and he was not provided with an

     alternative means of receiving insulin. W. f81. Benedict’s intake paperwork instructed of cials to

     house him in amedical wing, and Benedict told two of cers in booking that he was diabetic and

     had not received insulin. Id. 90-91. After booking, Benedict told multiple of cers that he needed

     insulin. Id. *[| 92. Ajailer allegedly told Benedict that he would not “see someone until he was

     dead.” Id. T| 94 (emphasis omitted). Benedict began feeling lethargic, had an unquenchable thirst.

     lost 27 pounds, vomited, and experienced vision issues and heart palpitations. Id. THf 104-08. At

     one point, Benedict lost consciousness for four to ve hours. Id. T| 112. Despite these issues and

     Benedict’s requests for help, jailers ignored Benedict. Id. Tf 114. After approximately 48 hours.

     Benedict was called to the nurse’s station to be evaluated. Id. 123,125. Based on the evaluation.

     an of cer escorted Benedict to the hospital. Id. 127,129. Like Kenney, Benedict was diagnosed

     with diabetic ketoacidosis. Id. 1132.

            Based on their experiences in jail. Plaintiffs led this lawsuit. Plaintiffs bring constitutional

     claims pursuant to 42 U.S.C. §1983 and claims for violations of Title II of the Americans with

     Disabilities Act of 1990 (“ADA”), 42 U.S.C. §12131, et seq., and Section 504 of the

     Rehabilitation Act, 29 U.S.C. §794. Compl. 145-234. Defendant moved to dismiss only




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Plaintiffs’ Rehabilitation Act claims, contending that Plaintiffs failed to state aclaim under the

statute.


                                      II.   LEGAL        S TA N D A R D


           To defeat amotion to dismiss led pursuant to Federal Rule of Civil Procedure 12(b)(6), a

plaintiff must plead “enough facts to state aclaim to relief that is plausible on its face.” Bell Atl

Corp. V. Twombly, 550 U.S. 544, 570 (2007). To meet this “facial plausibility” standard, aplaintiff

must “plead[] factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citation omitted). The court must accept well-pleaded facts as true and view them in the light most

favorable to the plaintiff. Sonnier v. State Farm Mut. Auto. Ins. Co., 509 F.3d 673, 675 (5th Cir.

2007) (citation omitted). However, the court does not accept as true “conclusory allegations.

unwarranted factual inferences, or legal conclusions.” Ferrer v. Chevron Corp.,A%A F.3d 776, 780

(5th Cir. 2007) (citation omitted). Aplaintiff must provide “more than labels and conclusions, and

aformulaic recitation of the elements of acause of action will not do.” Twombly, 550 U.S. at 555

(citation omitted). “Factual allegations must be enough to raise aright to relief above the

speculative level ... on the assumption that all the allegations in the complaint are true (even if

doubtful in fact).” Id. (citations omitted). At the motion to dismiss stage, the court does not evaluate

the plaintiffs likelihood of success. See Mann v. Adams Realty Co., 556 F.2d 288, 293 (5th Cir.

1977). It only determines whether the plaintiff has stated aclaim upon which relief can be granted.

See id.


                                            III.   A N A LY S I S


           According to Plaintiffs, Defendant “discriminated against Plaintiffs in violation of [the

Rehabilitation Act] by refusing to provide Plaintiffs with insulin.” Compl. 225. In other words.

Defendant did not provide Plaintiffs with “medically necessary treatment,” which allegedly was


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provided to “all other non-disabled inmates in the Dallas County Jail.” Id. 1230. Plaintiffs further

claim that they “were denied adequate accommodations available to others that would have

prevented their injuries, namely by providing them with insulin.” Id. 1227. These allegations do

not support aclaim for discrimination under the Rehabilitation Act.

        Section 504 of the Rehabilitation Act prohibits recipients of federal funds from

discriminating on the basis of disability. Francois v. Our Lady of the Lake Hasp., Inc., 8F.4th 370,

377 (5th Cir. 2021) (citing 29 U.S.C. §794(a)). To state aclaim under the statute, aplaintiff must

allege that (1) he is aquali ed individual within the meaning of the Rehabilitation Act; (2) he is

being excluded from participation in, or being denied bene ts of, services, programs, or activities

for which the entity is responsible, or is otherwise being discriminated against; and (3) such

discrimination is by reason of his disability.^ Epley v. Gonzalez, 860 F. App’x 310, 312 (5th Cir.

2021) (quoting Melton v. Dali. Area Rapid Transit, 391 F.3d 669, 671-72 (5th Cir. 2004)). The

third prong “can be satis ed with evidence that the defendant failed to make reasonable

accommodations for aplaintiff sdisability.” Id. at 314 (citing Valentine v. Collier, 993 F.3d 270,

290 (5th Cir. 2021)). However, aRehabilitation Act claim “cannot rest on the exact same facts as

aclaim of denial of medical care.” Id. (citation omitted).

        In support of their Rehabilitation Act claims. Plaintiffs repeatedly point to Defendant’s

failure to provide them with insulin. But these allegations amount only to achallenge to

Defendant’s alleged denial of medical care to Plaintiffs, which does not state adiscrimination

claim under the Rehabilitation Act. See Nottingham v. Richardson, 499 F. App’x 368, 377 (5th Cir.

2012) (holding that “[t]he ADA is not violated by ‘a prison’s simply failing to attend to the medical



'Although Epley sets forth the standard for an ADA claim, rather than aRehabilitation Act claim, the Fifth
Circuit noted that “because the rights and remedies afforded plaintiffs under Title II of the ADA are almost
entirely duplicative of those provided under §504 of the Rehabilitation Act, we apply the same analysis to
both claims.” 860 F. App’x at 312 n.3 (cleaned up).


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needs of its disabled prisoners” (quoting Bryant v. Madigan, 84 F.3d 246, 249 (7th Cir. 1996)));

Cadena v. El Paso County, 946 F.3d 717, 726 (5th Cir. 2020) (“[T]he ADA does not typically

provide aremedy for negligent medical treatment.” (citation omitted)); Wilson v. Baucom, No. 22-

50066, 2023 WL 4288350, at *4 (5th Cir. June 30, 2023) (af rming summary judgment in the

defendant’s favor on aRehabilitation Act claim where the claim was based on denial of “access to


medical care while in custody” (citation omitted)).

         This conclusion is inescapable whether Plaintiffs’ claims are premised on intentional

discrimination or failure to accommodate. Plaintiffs’ requested accommodations (i.e., insulin)

 treat the underlying medical condition[] that require[s] their existence,” Epley, 860 F. App’x

at 315. And denial of medication, without more, does not constitute intentional discrimination on

the basis of disability. See, e.g., Thomas v. Holmes, No. 2:23-CV-00190, 2024 WL 4135511,

at *32 (S.D. Tex. Mar. 15, 2024) (dismissing Rehabilitation Act claim predicated on “denial of

medical care in the form of receiving [schizophrenia] medication during the summer months'

because such denial did not constitute “discrimination based on adisability (whether intentional

or through afailure to accommodate)”), report and recommendation adopted by 2024 WL

3935432 (S.D. Tex. Aug. 26,2024); Reedv. Nacogdoches County, No. 9:19-CV-00086-ZJH, 2022

WL 705918, at *19 (E.D. Tex. Feb. 3, 2022) (granting summary judgment on ADA claim where

the plaintiff alleged that the jail failed to provide him with prescribed medication), aff’d. No. 22-

40126, 2023 WL 3563017 (5th Cir. May 19, 2023); McWherter v. Davis, No. 6:19-CV-00383-

JDK-JDL, 2020 WL 5638714, at *2, *4-5 (E.D. Tex. Aug. 5, 2020) (denying disability

discrimination claim where the plaintiff claimed he was refused antiviral medication to treat

Hepatitis C), report and recommendation adopted by 2020 WL 5632675 (E.D. Tex. Sept. 21,

2020).




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            In sum, Plaintiffs have not alleged that they were excluded from participation in, or denied

     the bene ts of, any services, programs, or activities, or were otherwise being discriminated against.

     because of their disabilities. Instead, Plaintiffs have merely repackaged denial of medical care

     claims into claims under the Rehabilitation Act. Accordingly, even when taking Plaintiffs’ alleged

     facts as true and viewing them in the light most favorable to Plaintiffs, the Court nds that

     Plaintiffs have not stated aRehabilitation Act claim.


                                            I V.   CONCLUSION


            For the reasons discussed above, the Court GRANTS Defendant’s Rule 12(b)(6) Motion

     to Dismiss Plaintiffs’ Rehabilitation Act Claims Alleged Against It in Plaintiffs’ Original

     Complaint [ECF No. 8]. Because Plaintiffs have requested leave to amend, see Resp. 11, and given

     the Federal Rules of Civil Procedure’s liberal policy of allowing amendments to pleadings, the

     Court GRANTS Plaintiffs leave to amend their Complaint. Plaintiffs must                  le an amended

     complaint by December 6,2024. If an amended complaint is not led within such time. Plaintiffs’

     Rehabilitation Act claims will be dismissed with prejudice.

            SO   ORDERED.


            SIGNED November 22, 2024.




                                                               KAREN    GREN      SCHOLER
                                                               UNITED   S TAT E S        DISTRICT   JUDGE




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